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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Civil Action No. 1:20-cv-01572


 JAMES HARMON,

        Plaintiff,

 v.

 MONSANTO COMPANY and POUDRE
 VALLEY CO-OPERATIVE ASSOCIATION, INC.,

        Defendants.



 DEFENDANT MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT



       Pursuant to Rule 12 of the Federal Rules of Civil Procedure, Defendant Monsanto

Company (“Monsanto”), by and through its counsel, respectfully responds by generally denying

all allegations contained in plaintiff’s Civil Complaint and Jury Demand (“the Complaint”),

except as set forth below. Monsanto denies – and objects to – allegations by plaintiff that

purport to lump Monsanto together with another defendant. Monsanto responds to this

Complaint only on behalf of Monsanto and not on behalf of any other defendant. As defined in

the Complaint and as used in this Answer, Monsanto refers to Monsanto Company, a United

States based company incorporated in Delaware, and not to other Monsanto-affiliated

companies. Silence as to any allegations shall constitute a denial.

       1.      For the purposes of this answer, Monsanto accepts the allegation in paragraph 1

regarding plaintiff’s Colorado citizenship. Monsanto lacks information or knowledge sufficient




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to form a belief as to the truth of the remaining allegations in paragraph 1 and therefore denies

those allegations.

       2.      Monsanto admits the allegations in paragraph 2.

       3.      Monsanto admits that it is authorized to do business, and does business, in

Colorado. Monsanto lacks information or knowledge sufficient to form a belief as to the truth of

the remaining allegations in paragraph 3 and therefore denies those allegations.

       4.      The allegations in paragraph 4 are directed at a defendant other than Monsanto, so

no response from Monsanto is required for these allegations.

       5.      The allegations in paragraph 5 are directed at a defendant other than Monsanto, so

no response from Monsanto is required for these allegations.

       6.      In response to the allegations in paragraph 6, Monsanto admits that it was the

entity that discovered the herbicidal properties of glyphosate and that Monsanto manufactures

Roundup®-branded products that have glyphosate as the active ingredient, but notes that

Monsanto was and is not the only manufacturer of glyphosate-based herbicides.

       7.      Monsanto denies the allegations in paragraph 7.

       8.      In response to the allegations in paragraph 8, Monsanto admits that its

headquarters and principal place of business are in St. Louis County, Missouri and that it is

incorporated in Delaware.

       9.      In response to the allegations in paragraph 9, Monsanto denies that plaintiff’s

injuries were caused by exposure to glyphosate-based herbicides and denies that Monsanto

“wrongfully caused” those injuries. The remaining allegations in paragraph 9 set forth

conclusions of law for which no response is required. To the extent that a response is deemed

required, Monsanto lacks information or knowledge sufficient to form a belief as to the truth of




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the allegations regarding plaintiff’s actual or potential knowledge and therefore denies those

allegations. Monsanto states that the scientific studies upon which the International Agency for

Research on Cancer (“IARC”) purported to base its evaluation of glyphosate were all publicly

available before March 2015.

       10.     Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 10 regarding “the incident” and therefore denies those

allegations. The remaining allegations in paragraph 10 set forth conclusions of law for which no

response is required.

       11.     In response to the allegations in paragraph 11, Monsanto denies any “tort” giving

rise to plaintiff’s claims and Monsanto lacks information or knowledge sufficient to form a belief

as to the truth of the allegations regarding where certain other events giving rise to plaintiff’s

claims occurred and therefore denies those allegations. The remaining allegations in paragraph

11 set forth conclusions of law for which no response is required.

       12.     Monsanto admits the allegations in the first and second sentences of paragraph 12.

In response to the allegations in the third sentence of paragraph 12, Monsanto admits that certain

of its Roundup®-branded products contain POEA and adjuvants, and that the United States

Environmental Protection Agency (“EPA”) has classified surfactants and adjuvants as inert.

Monsanto notes that the EPA has determined that the surfactants used in Roundup®-branded

herbicides do not pose an unreasonable risk to human health. In response to the allegations in

the final sentence of paragraph 12, Monsanto admits that glyphosate was one of the world’s most

widely used herbicides in 2013, but notes that Monsanto was and is not the only manufacturer of

glyphosate-based herbicides. Monsanto lacks information or knowledge sufficient to form a




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belief as to the accuracy of the specific numbers and statistics cited in the remaining sentences of

paragraph 12 and therefore denies those allegations.

       13.     In response to the allegations in paragraph 13, Monsanto admits that its

headquarters are in St. Louis County, Missouri, and that it is incorporated in Delaware.

Monsanto admits that it and affiliated companies have operations and offices in countries around

the world. Monsanto admits that it is a producer of glyphosate-based herbicides but lacks

sufficient information regarding the business of other glyphosate producers to admit or deny the

allegation as written in the second sentence of paragraph 13. Monsanto admits that it is the

leading producer of seeds that contain the Roundup Ready® trait and that use of crops with the

Roundup Ready® trait substantially improves a farmer’s ability to control weeds. Monsanto

lacks information or knowledge sufficient to form a belief as to the accuracy of the specific

numbers and statistics provided in the remaining sentences of paragraph 13 and therefore denies

those allegations.

       14.     In response to the allegations in paragraph 14, Monsanto admits that its

glyphosate products are registered in at least 130 countries and approved for use on over 100

different crops. Monsanto admits that certain studies have reported that glyphosate is found at de

minimis levels significantly below regulatory safety limits in various locations and media.

Monsanto denies the remaining allegations in paragraph 14.

       15.     Monsanto admits the allegations in the first sentence of paragraph 15. Monsanto

denies the allegations in the second sentence of paragraph 15 to the extent they suggest that the

International Agency for Research on Cancer (“IARC”) based its evaluation on a complete or

accurate assessment of the scientific research regarding glyphosate.




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       16.     Monsanto admits the allegations in the first sentence of paragraph 16. Monsanto

denies the allegations in the second sentence of paragraph 16.

       17.     In response to the allegations in paragraph 17, Monsanto admits that the IARC

working group classified glyphosate under Group 2A. Monsanto denies the remaining

allegations in paragraph 17.

       18.     Monsanto denies the allegations in paragraph 18.

       19.     In response to the allegations in paragraph 19, Monsanto admits that glyphosate

repeatedly has been found to be safe to humans and the environment by regulators in the United

States and around the world and further admits that it has labeled glyphosate products as

approved by regulatory bodies consistent with those findings. Monsanto also admits that the

EPA repeatedly has concluded pursuant to the Federal Insecticide, Fungicide, and Rodenticide

Act (“FIFRA”) that glyphosate-based herbicides create no unreasonable risk to human health or

to the environment when used in accordance with the label. To the extent that paragraph 19

alleges that Monsanto has labeled glyphosate or Roundup®-branded herbicides in any manner

different or in addition to such regulatory approval, Monsanto denies such allegations.

       20.     In response to the allegations in paragraph 20, Monsanto admits that glyphosate is

an herbicide that is used to kill invasive plants and weeds. The remaining allegations in

paragraph 20 are vague and ambiguous and Monsanto lacks information or knowledge sufficient

to form a belief as to the truth of the remaining allegations in paragraph 20 and therefore denies

those allegations.

       21.     Monsanto admits the allegations in the first sentence of paragraph 21. Monsanto

denies the allegations in the second sentence of paragraph 21 because the impact of glyphosate

on treated plants varies depending upon the amount of glyphosate applied and the type of plant.




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Monsanto denies the allegations in the third sentence of paragraph 21 to the extent that they

suggest that glyphosate is present in any plants at anything other than de minimis amounts well

within regulatory safety levels, as determined by EPA.

       22.     In response to the allegations in paragraph 22, Monsanto admits that farmers have

safely used Roundup®-branded products since the 1970s. Monsanto denies the remaining

allegations in paragraph 22.

       23.     Monsanto admits the allegations in the first two sentences of paragraph 23 and

admits that it has marketed Roundup®-branded products in accord with EPA’s regulatory

determinations under FIFRA. Monsanto otherwise denies the remaining allegations in paragraph

23.

       24.     The allegations in paragraph 24 set forth conclusions of law for which no

response is required. To the extent that a response is deemed required, Monsanto admits the

allegations in paragraph 24.

       25.     In response to the allegations in paragraph 25, Monsanto admits that EPA requires

registrants of herbicides to submit extensive data in support of the human health and

environmental safety of their products and further admits that EPA will not register or approve

the labeling of herbicides that do not satisfy the requirements set forth in FIFRA. The remaining

allegations in paragraph 25 set forth conclusions of law for which no response is required.

       26.     The allegations in paragraph 26 set forth conclusions of law for which no

response is required.

       27.     In response to the allegations in paragraph 27, Monsanto admits that Roundup®-

branded products are registered by EPA for manufacture, sale and distribution in the United

States, including Missouri.




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       28.     In response to the allegations in paragraph 28, Monsanto admits that EPA requires

registrants of herbicides to submit extensive data in support of the human health and

environmental safety of their products and further admits that EPA will not register or approve

the labeling of herbicides that do not satisfy the requirements set forth in FIFRA. Monsanto

states that the term “the product tests” in the final sentence of paragraph 28 is vague and

ambiguous, and Monsanto therefore denies the same. The remaining allegations in paragraph 28

set forth conclusions of law for which no answer is required.

       29.     Monsanto denies the allegations in paragraph 29 to the extent that they suggest

that EPA only evaluates the safety of pesticide products on the date of their initial registration.

Monsanto admits that EPA is in the process of conducting regulatory review of various pesticide

products, but Monsanto lacks information or knowledge sufficient to form a belief as to the truth

of the allegations in paragraph 29 regarding such pesticide products generally and therefore

denies those allegations. The remaining allegations in paragraph 29 set forth conclusions of law

for which no response is required.

       30.     In response to the allegations in paragraph 30, Monsanto admits that EPA has

undertaken a regulatory review of glyphosate and further admits that EPA has not released its

findings. Monsanto states, however, that: (a) in September 2016, EPA’s Office of Pesticide

Programs (“OPP”) issued a 227-page evaluation of glyphosate’s carcinogenic potential,

concluding that “[t]he strongest support is for [the descriptor] ‘not likely to be carcinogenic to

humans’ at doses relevant to human health risk assessment”1; and (b) at the same time, EPA


1
 EPA’s Office of Pesticide Programs, Glyphosate Issue Paper: Evaluation of Carcinogenic
Potential at 141 (Sept. 12, 2016) (“EPA OPP Report”), https://www.regulations.gov/
document?D=EPA-HQ-OPP-2016-0385-0094. The EPA OPP Report was prepared in
anticipation of an EPA Scientific Advisory Panel meeting on glyphosate’s carcinogenic
potential.



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posted an October 2015 final report by its standing Cancer Assessment Review Committee

(“CARC”), in which CARC endorsed EPA’s existing classification of glyphosate as “Not Likely

to be Carcinogenic to Humans.”2 Monsanto further states that, in December 2017, EPA’s OPP

issued a detailed, lengthy revised evaluation of glyphosate’s carcinogenic potential that reiterated

the conclusion that “[t]he strongest support is for [the descriptor] ‘not likely to be carcinogenic to

humans’.”3 Monsanto lacks information or knowledge sufficient to form a belief as to the truth

of the remaining allegations in paragraph 30 and therefore denies those allegations.

       31.        In response to the allegations in paragraph 31, Monsanto admits that an EPA

review committee classified glyphosate as Class C in 1985 based on limited data and that EPA

changed its classification of glyphosate to Group E based upon a full evaluation of the scientific

evidence, including but not limited to three animal carcinogenicity studies. Monsanto admits

that plaintiff has accurately quoted from one passage in an EPA document in 1991 with respect

to the designation of an agent as Group E, but states that EPA repeatedly has concluded that

glyphosate does not pose any cancer risk to humans. In addition to the conclusions in the two

EPA OPP reports and the EPA CARC Final Report discussed above, other specific findings of

safety include:

                 “In June 1991, EPA classified glyphosate as a Group E [carcinogen] – one that
                  shows evidence of non-carcinogenicity for humans – based on the lack of
                  convincing evidence of carcinogenicity in adequate studies.” EPA, Glyphosate:
                  Reregistration Eligibility Decision (RED) Facts, 2 (Sept. 1993),
                  http://archive.epa.gov/pesticides/reregistration/web/pdf/0178fact.pdf.


2
 Cancer Assessment Review Committee, Health Effects Division, Office of Pesticide Programs,
U.S. Environmental Protection Agency, Cancer Assessment Document – Evaluation of the
Carcinogenic Potential of Glyphosate at 10, 77 (Final Report, Oct. 1, 2015) (“EPA CARC Final
Report”), https://www.regulations.gov/document?D=EPA-HQ-OPP-2016-0385-0014.
3
 EPA’s Office of Pesticide Programs, Revised Glyphosate Issue Paper: Evaluation of
Carcinogenic Potential at 143, 144 (Dec. 12, 2017), https://www.regulations.gov/
document?D=EPA-HQ-OPP-2016-0385-0528.



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              “No evidence of carcinogenicity.” Glyphosate; Pesticide Tolerances, 67 Fed.
               Reg. 60,934, 60,943 (Sept. 27, 2002) (to be codified at 40 C.F.R. pt. 180).

              “Glyphosate has no carcinogenic potential.” Glyphosate; Pesticide Tolerance, 69
               Fed. Reg. 65,081, 65,086 (Nov. 10, 2004) (to be codified at 40 C.F.R. pt. 180).

              “There is [an] extensive database available on glyphosate, which indicate[s] that
               glyphosate is not mutagenic, not a carcinogen, and not a developmental or
               reproductive toxicant.” Glyphosate; Pesticide Tolerances, 73 Fed. Reg. 73,586,
               73,589 (Dec. 3, 2008) (to be codified at 40 C.F.R. pt. 180).

              “EPA has concluded that glyphosate does not pose a cancer risk to humans.” 78
               Fed. Reg. 25,396, 25,398 (May 1, 2013) (to be codified at 40 C.F.R. pt. 180).

              “In 2014, EPA reviewed over 55 epidemiological studies conducted on the
               possible cancer and non-cancer effects of [g]lyphosate. Our review concluded
               that this body of research does not provide evidence to show that [g]lyphosate
               causes cancer and does not warrant any change in the EPA’s cancer classification
               for [g]lyphosate.” Agriculture Biotechnology: A Look at Federal Regulation and
               Stakeholder Perspectives: Hearing Before the S. Comm. on Agr., Nutrition, &
               Forestry, 114th Cong. (2015) (statement of Dr. William Jordan, Deputy Director
               of EPA’s Office of Pesticide Programs),
               http://www.ag.senate.gov/templates/watch.cfm?id=74793e67-5056-a055-64af-
               0e55900753b4, at time stamp 55:05-56:20.

 Monsanto denies the remaining allegations in paragraph 31.

       32.     In response to the allegations in paragraph 32, Monsanto admits that it – along

with a large number of other companies and governmental agencies – was defrauded by two

chemical testing laboratories, and that Monsanto had hired both of these laboratories to conduct

testing on glyphosate. Monsanto states that only one of these laboratories was hired to conduct

toxicity tests of glyphosate. Monsanto denies that EPA’s registration of glyphosate or any

glyphosate-based herbicides is based upon any invalid Industrial Bio-Test (“IBT”) Laboratories

studies. To the extent that the allegations in paragraph 32 are intended to suggest that Monsanto

was anything other than a victim of this fraud, such allegations are denied.

       33.     In response to the allegations in paragraph 33, Monsanto admits that IBT

Laboratories was hired to conduct toxicity studies in connection with the registration of a



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Roundup®-branded product. Monsanto denies that EPA’s regulatory approval of such product is

based upon any fraudulent or false IBT studies.

       34.     Monsanto denies the allegations in paragraph 34 to the extent they suggest that

EPA performed an inspection of IBT Laboratories solely or specifically in connection with

studies conducted on glyphosate. Monsanto admits that EPA performed an audit of IBT

Laboratories to investigate that laboratory’s fraudulent and/or improper testing procedures in

connection with services provided to a broad number of private and governmental entities and

that this inspection included a review of studies IBT conducted on glyphosate. Monsanto was

one of several pesticide manufacturers who had used IBT test results. The audit found some

toxicology studies conducted with the original Roundup® herbicide to be invalid. As a result,

Monsanto repeated all required studies in accordance with applicable EPA testing guidelines.

Monsanto denies that EPA’s registration of glyphosate or any glyphosate-based herbicides is

based upon any invalid IBT studies. To the extent that the allegations in paragraph 34 are

intended to suggest that Monsanto was anything other than a victim of this fraud, Monsanto

denies those allegations.

       35.     In response to the allegations in paragraph 35, Monsanto admits that three IBT

employees were convicted of the charge of fraud, but Monsanto denies that any of the

individuals were convicted based upon studies conducted on glyphosate or glyphosate-based

herbicides.

       36.     In response to the allegations in paragraph 36, Monsanto admits that it – along

with numerous other private companies – hired Craven Laboratories as an independent

laboratory to conduct residue studies for Monsanto agricultural products. Monsanto admits that

it was defrauded by Craven Laboratories and that, as a result, Monsanto repeated the studies




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conducted at Craven Laboratories at a substantial cost. To the extent that the allegations in

paragraph 36 are intended to suggest that Monsanto was anything other than a victim of this

fraud, such allegations are denied.

       37.     Monsanto denies the allegations in paragraph 37.

       38.     In response to the allegations in paragraph 38, Monsanto admits that Roundup®-

branded products are highly valued by its customers because of their efficacy and safety.

Monsanto also admits that the patent for glyphosate expired in the United States in 2000. The

remaining allegations in paragraph 38 are vague and conclusory and comprise attorney

characterizations and are accordingly denied.

       39.     In response to the allegations in paragraph 39, Monsanto admits that following the

development of Roundup® Ready seeds, it began to sell them in the 1990s and that such seeds

are now widely used by farmers in the United States and worldwide. Monsanto lacks

information or knowledge sufficient to form a belief as to the accuracy of the specific numbers

cited in paragraph 39 and accordingly denies those allegations. The remaining allegations in

paragraph 39 are vague and conclusory and comprise attorney characterizations and are

accordingly denied.

       40.     In response to the allegations in paragraph 40, Monsanto admits that glyphosate is

one of the world’s largest herbicides by sales volume, but Monsanto denies any suggestion that it

is the only company that sells glyphosate or glyphosate-based herbicides. Monsanto lacks

information or knowledge sufficient to form a belief as to the accuracy of the specific numbers

cited in paragraph 40 and accordingly denies the same. The remaining allegations in paragraph

40 are vague and conclusory and comprise attorney characterizations and are accordingly denied.




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       41.     In response to the allegations in paragraph 41, Monsanto admits that the New

York Attorney General filed a lawsuit against Monsanto in 1996 alleging false and misleading

advertising of Roundup®-branded products. This lawsuit was subsequently resolved without any

admission of wrongdoing by Monsanto. Monsanto states that none of the New York Attorney

General’s allegations related in any way to a purported or alleged risk of cancer. To the extent

the subparts purport to quote a document, the document speaks for itself and thus does not

require any further answer. The remaining allegations in paragraph 41 are vague and conclusory

and comprise attorney characterizations and are accordingly denied.

       42.     In response to the allegations in paragraph 42, Monsanto admits it entered into an

assurance of discontinuance with the New York Attorney General. The assurance speaks for

itself and thus does not require any further answer. The remaining allegations in paragraph 42

are vague and conclusory and comprise attorney characterizations and are accordingly denied.

       43.     Monsanto denies the allegations in paragraph 43.

       44.     In response to the allegations in paragraph 44, Monsanto admits that the French

court ruled that Monsanto had falsely advertised its herbicide Roundup® as “biodegradable” and

that it “left the soil clean,” but denies the allegations in paragraph 44 to the extent that they

suggest that this ruling was in any way related to plaintiff’s claim here that glyphosate can cause

cancer. Monsanto denies the remaining allegations in paragraph 44.

       45.     In response to the allegations in paragraph 45, Monsanto denies that IARC

follows stringent procedures for the evaluation of a chemical agent. Monsanto lacks information

or knowledge sufficient to form a belief as to the accuracy of the specific numbers cited in

paragraph 45, which are not limited as of any specified date, and accordingly denies the same.




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       46.     In response to the allegations in paragraph 46, Monsanto admits that IARC sets

forth in its Preamble the procedures that it claims to follow in its carcinogenicity evaluations.

Monsanto denies the remaining allegations in paragraph 46.

       47.     In response to the allegations in paragraph 47, Monsanto denies any suggestion

that IARC reviewed the full body of scientific research in conducting its evaluation of glyphosate

or that IARC reliably reviewed the studies that it cited in its glyphosate monograph. Monsanto

lacks information or knowledge sufficient to form a belief as to the truth of the remaining

allegations in paragraph 47 and therefore denies those allegations.

       48.     In response to the allegations in paragraph 48, Monsanto denies any suggestion

that IARC reviewed the full body of scientific research in conducting its evaluation of glyphosate

or that IARC reliably reviewed the studies that it cited in its glyphosate monograph. Monsanto

lacks information or knowledge sufficient to form a belief as to the truth of the remaining

allegations in paragraph 48 and therefore denies those allegations.

       49.     Monsanto denies the allegations in paragraph 49 to the extent that they suggest

that IARC had previously assessed glyphosate. Monsanto admits that IARC classified

glyphosate as a Group 2A agent in March 2015.

       50.     In response to the allegations in paragraph 50, Monsanto admits that IARC issued

its monograph for glyphosate, Monograph 112, on July 29, 2015, and that a draft of the

monograph was prepared by a “working group” of individuals selected by IARC who met over a

one-week period in March 2015 to consider glyphosate along with a number of other substances.

Monsanto denies the allegation that all members of the working groups are “experts.” Monsanto

denies that the working group or anyone at IARC conducted a one-year review of the scientific

evidence related to glyphosate or that the working group’s findings reflected a comprehensive




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review of the latest available scientific evidence. Monsanto also denies that the working group

considered all information available in the scientific literature and all data from government

reports that are publicly available. Monsanto denies the remaining allegations in paragraph 50.

       51.     In response to the allegations in paragraph 51, Monsanto denies that the IARC

working group considered all of the data in the numerous studies that have been conducted

looking at the safety of glyphosate and glyphosate-containing herbicides in human populations or

that it reliably considered the studies that it purports to have reviewed, which frequently reach

conclusions directly contrary to those espoused by the IARC working group. To the extent the

allegations purport to characterize statements made in the IARC monograph for glyphosate, the

statements in that document speak for themselves, but Monsanto lacks information or knowledge

sufficient to form a belief as to the accuracy of the source of said information and accordingly

denies the allegations.

       52.     The allegations in paragraph 52 are vague and conclusory. To the extent they

purport to characterize statements made in the IARC monograph for glyphosate, the statements

in that document speak for themselves, but Monsanto lacks information or knowledge sufficient

to form a belief as to the accuracy of the source of said information and accordingly denies the

allegations.

       53.     In response to the allegations in paragraph 53, to the extent the allegations purport

to characterize statements made in the IARC monograph for glyphosate, the statements in that

document speak for themselves, but to the extent that this paragraph means that more than de

minimis amounts of exposure are present, Monsanto denies the allegations in paragraph 53.

       54.     In response to the allegations in paragraph 54, Monsanto admits that the IARC

working group identified a number of case control studies of populations with exposures to




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glyphosate, but Monsanto denies that any of these studies provide any evidence of a human

health concern from such exposures.

       55.     Monsanto denies the allegations in paragraph 55. The IARC working group

concluded that there was only limited evidence of carcinogenicity in epidemiologic studies,

which, per IARC’s guidelines, means that the working group could not rule out chance, bias or

confounding so as to reach any conclusion of an increased risk.

       56.     In response to the allegations in paragraph 56, Monsanto admits that the working

group cited to a study that it concluded provided evidence of chromosomal damage in

community residents reported to be exposed to glyphosate, but Monsanto denies that the study

supports such a conclusion or that the authors of the study reached such a conclusion.

       57.     In response to the allegations in paragraph 57, Monsanto admits that the IARC

working group purported to make these findings, but denies that the animal carcinogenicity

studies of glyphosate in the aggregate provide evidence of a positive trend for or increase in any

of the identified tumors. Monsanto further states that regulatory agencies around the world have

reviewed the same animal studies and concluded that they do not provide evidence that

glyphosate can cause cancer. Monsanto denies the remaining allegations in paragraph 57.

       58.     In response to the allegations in paragraph 58, Monsanto admits that the IARC

working group purported to make these findings, but denies that the cited studies provide any

reliable basis for a finding that any meaningful levels of glyphosate or AMPA are present or

persists in human blood or urine. Monsanto denies the remaining allegations in paragraph 58.

       59.     In response to the allegations in paragraph 59, Monsanto admits that the IARC

working group interpreted a selected number of experimental studies as evidence that glyphosate

can cause genotoxicity, but Monsanto denies that the working group reliably considered the full




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body of scientific data on such alleged genotoxic endpoints and denies that the working group

reliably interpreted the studies that it selected for consideration. Regulators around the world

repeatedly have concluded that glyphosate is not genotoxic. Monsanto denies the remaining

allegations in paragraph 59.

       60.     In response to the allegations in paragraph 60, Monsanto admits that the IARC

working group purported to find such effects, but denies that there is any reliable scientific basis

for such conclusion. Monsanto denies the remaining allegations in paragraph 60.

       61.     In response to the allegations in paragraph 61, Monsanto admits that the working

group reviewed the findings of an Agricultural Health Study (“AHS”) published in 2005, but

denies that the working group characterized that study as supporting an association between

glyphosate and the specified cancers. The AHS cohort study did not find a positive association

between glyphosate and any type of cancer. Monsanto denies all other allegations in paragraph

61.

       62.     In response to the allegations in paragraph 62, Monsanto admits that EPA has a

technical fact sheet, as part of its Drinking Water and Health, National Primary Drinking Water

regulations, relating to glyphosate that predates the IARC March 20, 2015 evaluation, which

should be read in context of EPA’s precautionary regulatory mandate and EPA’s consistent

finding that glyphosate does not pose any cancer risk to humans.

       63.     In response to the allegations in paragraph 63, Monsanto admits that the

Complaint accurately quotes from the identified document, which should be read in context of

EPA’s precautionary regulatory mandate and EPA’s consistent finding that glyphosate does not

pose any cancer risk to humans.




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       64.     In response to the allegations in paragraph 64, Monsanto admits that the

Northwest Coalition for Alternatives to Pesticides made the identified claims, but denies that the

Coalition provides any reliable basis for any conclusions regarding potential health risks from

glyphosate. Monsanto notes that a federal district court has characterized this same publication

as an “advocacy piece[] published in [a] non-peer-reviewed journal.” See Arias v. DynCorp, 928

F. Supp. 2d 10, 24 (D.D.C. 2013).

       65.     In response to the allegations in paragraph 65, Monsanto admits that the IARC

working group’s classification of glyphosate as a Class 2A carcinogen has resulted in ongoing

discussions and/or restrictions in certain countries regarding the sale and/or use of glyphosate-

based herbicides, including the Netherlands, but denies that there is any scientific basis for the

concerns raised by the improper IARC classification. Monsanto denies the remaining allegations

in paragraph 65.

       66.     In response to the allegations in paragraph 66, Monsanto admits that the IARC

working group classification led an individual government attorney in Brazil to write a letter to

the Brazilian regulatory authorities requesting a reevaluation of glyphosate. Monsanto denies the

remaining allegations in paragraph 66.

       67.     In response to the allegations in paragraph 67, Monsanto admits that, in France,

the sale to and use by amateurs (i.e., non-professionals) of all pesticides (with certain exceptions

for biocontrol pesticides) are prohibited as of January 1, 2019, with certain exceptions. Monsanto

denies the remaining allegations in paragraph 67.

       68.     In response to the allegations in paragraph 68, Monsanto admits that some

employees of Bermuda’s government announced an intention to suspend the importation of

glyphosate-based herbicides, but Monsanto lacks information sufficient to form a belief as to the




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truth of the allegations about whether this suspension took effect and accordingly denies the

same. Monsanto denies the remaining allegations in paragraph 68.

       69.     In response to the allegations in paragraph 69, Monsanto admits that the IARC

monograph appears to be the alleged basis for the Sri Lankan government’s actions, including

the allegation that glyphosate can cause kidney disease. Monsanto further states that the

allegations regarding kidney disease found in Sri Lanka are unrelated to plaintiff’s allegations

regarding claimed carcinogenicity. Monsanto denies the remaining allegations in paragraph 69.

       70.     In response to the allegations in paragraph 70, Monsanto denies the alleged basis

for Colombia’s suspension of aerial spraying of glyphosate. Colombia’s attorney general has

explained that the ban on aerial spraying of illicit coca plantations was a concession to the FARC

(“Fuerzas Armadas Revolucionarias de Colombia”), and had nothing to do with alleged safety

concerns. As of April 2016, the government of Colombia has resumed manual application of

glyphosate on illicit coca crops. A federal district court in the United States excluded plaintiffs’

expert testimony purporting to link these same aerial eradication operations with cancer as

scientifically unreliable. See Arias v. DynCorp, 928 F. Supp. 2d 10 (D.D.C. 2013). Monsanto

denies the remaining allegations in paragraph 70.

       71.     Monsanto incorporates by reference its responses to paragraphs 1 through 70 in

response to paragraph 71 of plaintiff’s Complaint.

       72.     Monsanto denies the allegations in paragraph 72.

       73.     In response to the allegations in paragraph 73, Monsanto admits that it has stated

and continues to state that Roundup®-branded products are safe when used as labeled and that

they are non-toxic and non-carcinogenic.




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       74.     In response to the allegations in paragraph 74, Monsanto states that the cited

document speaks for itself and does not require a response.

       75.     Monsanto denies that exposure to Roundup®-branded products and glyphosate

exposed plaintiff to risk of his alleged cancer and denies the remaining allegations in paragraph

75. Monsanto states, however, that the scientific studies upon which IARC purported to base its

classification were all publicly available before March 2015.

       76.     Monsanto denies the allegations in the first and last sentences of paragraph 76.

The remaining allegations in paragraph 76 set forth conclusions of law for which no response is

required. Monsanto states, however, that the scientific studies upon which IARC purported to

base its classification were all publicly available before March 2015.

       77.     In response to the allegations in paragraph 77, Monsanto denies that it engaged in

the “wrongdoing” alleged in the Complaint and denies that there is any reliable scientific

evidence that exposure to glyphosate or Roundup®-branded products can cause cancer.

Monsanto states, however, that the scientific studies upon which IARC purported to base its

classification were all publicly available before March 2015. The remaining allegations in

paragraph 77 set forth conclusions of law for which no response is required, consist of attorney

characterizations and are accordingly denied, or comprise allegations for which Monsanto lacks

information or knowledge sufficient to form a belief as to the truth of the allegations asserted and

therefore denies those allegations.

       78.     Monsanto incorporates by reference its responses to paragraphs 1 through 77 in

response to paragraph 78 of plaintiff’s Complaint.




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       79.     In response to the allegations in the first sentence of paragraph 79, Monsanto

admits that plaintiff purports to bring claims for strict liability design defect but denies any

liability as to that claim. Monsanto denies the remaining allegations in paragraph 79.

       80.     Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 80 that plaintiff used Roundup®-branded products and

therefore denies those allegations. Monsanto denies the remaining allegations in paragraph 80.

       81.     Monsanto denies the allegations in paragraph 81.

       82.     Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 82 and therefore denies those allegations.

       83.     Monsanto denies the allegations in paragraph 83.

       84.     Monsanto denies the allegations in paragraph 84.

       85.     Monsanto denies the allegations in paragraph 85.

       86.     Monsanto denies the allegations in paragraph 86 and each of its subparts.

       87.     Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 87 concerning plaintiff’s claimed or exposure to Roundup®-

branded products and therefore denies those allegations. Monsanto denies the remaining

allegations in paragraph 87, including that Roundup®-branded products have “dangerous

characteristics.”

       88.     Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 88 and therefore denies those allegations. Monsanto denies

the remaining allegations in paragraph 88, including that Roundup®-branded products have

“dangerous characteristics.”

       89.     Monsanto denies the allegations in paragraph 89.




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        90.     Monsanto denies the allegations in paragraph 90.

        91.     Monsanto denies the allegations in paragraph 91.

        92.     Monsanto denies the allegations in paragraph 92.

        93.     Monsanto denies the allegations in paragraph 93.

        94.     Monsanto denies the allegations in paragraph 94.

        95.     Monsanto denies the allegations in paragraph 95.

        96.     Monsanto denies the allegations in paragraph 96.

        97.     Monsanto incorporates by reference its responses to paragraphs 1 through 96 in

response to paragraph 97 of plaintiff’s Complaint.

        98.     In response to the allegations in paragraph 98, Monsanto admits that plaintiff

purports to bring claims for strict liability failure to warn, but denies any liability as to that claim.

        99.     Monsanto denies the allegations in paragraph 99.

        100.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 100 that plaintiff, plaintiff’s employer, plaintiff’s coworkers,

or other persons or entities purchased Roundup®-branded products and therefore denies those

allegations. The allegations in paragraph 100 also set forth conclusions of law for which no

response is required. Monsanto denies the remaining allegations in paragraph 100.

        101.    The allegations in paragraph 101 set forth conclusions of law for which no

response is required.

        102.    Monsanto denies the allegations in paragraph 102. All labeling of Roundup®-

branded products has been and remains EPA-approved and in compliance with all federal

requirements under FIFRA.

        103.    Monsanto denies the allegations in paragraph 103.




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       104.    Monsanto denies the allegations in paragraph 104.

       105.    Monsanto denies the allegations in paragraph 105.

       106.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 106 and therefore denies those allegations.

       107.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 107 concerning plaintiff’s alleged use of Roundup®-branded

products and therefore denies those allegations. Monsanto denies the remaining allegations in

paragraph 107, including that Roundup®-branded products have “dangerous characteristics.”

       108.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 108 concerning plaintiff’s claimed use of and exposure to

Roundup®-branded products and therefore denies those allegations. Monsanto denies the

remaining allegations in paragraph 108, including that Roundup®-branded products have

“dangerous characteristics.”

       109.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in the second sentence of paragraph 109 and therefore denies those

allegations. Monsanto denies the remaining allegations in paragraph 109.

       110.    Monsanto denies the allegations in paragraph 110.

       111.    Monsanto denies the allegations in paragraph 111.

       112.    Monsanto denies the allegations in paragraph 112.

       113.    Monsanto denies the allegations in paragraph 113.

       114.    Monsanto denies the allegations in paragraph 114.

       115.    Monsanto denies the allegations in paragraph 115.

       116.    Monsanto denies the allegations in paragraph 116.




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       117.    Monsanto denies the allegations in paragraph 117.

       118.    Monsanto incorporates by reference its responses to paragraphs 1 through 117 in

response to paragraph 118 of plaintiff’s Complaint. Monsanto objects to plaintiff using the word

“Defendants” to lump Monsanto together with its co-defendant in Count III of the Complaint.

Monsanto responds to the allegations in Count III only on behalf of Monsanto.

       119.    In response to the allegations in paragraph 119, Monsanto states that the phrase

“directly or indirectly” is vague and ambiguous and that Monsanto lacks information or

knowledge sufficient to form a belief as to the truth of those allegations and therefore Monsanto

denies those allegations in paragraph 119.

       120.    The allegations in paragraph 120 set forth conclusions of law for which no

response is required.

       121.    The allegations in paragraph 121 set forth conclusions of law for which no

response is required.

       122.    Monsanto denies the allegations in paragraph 122.

       123.    Monsanto denies the allegations in paragraph 123.

       124.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 124 regarding users’ and consumers’ knowledge and

therefore denies those allegations. Monsanto denies the remaining allegations in paragraph 124.

All labeling of Roundup®-branded products has been and remains EPA-approved and in

compliance with all federal requirements under FIFRA.

       125.    Monsanto denies the allegations in paragraph 125.

       126.    Monsanto denies the allegations in paragraph 126.

       127.    Monsanto denies the allegations in paragraph 127, including each of its subparts.




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       128.    Monsanto denies the allegations in paragraph 128.

       129.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 129 regarding plaintiff’s knowledge and therefore denies

those allegations. Monsanto denies the remaining allegations in paragraph 129, including that

intended use of and/or exposure to Roundup®-branded products causes any injuries.

       130.    Monsanto denies the allegations in paragraph 130.

       131.    Monsanto denies the allegations in paragraph 131.

       132.    Monsanto denies the allegations in paragraph 132. All labeling of Roundup®-

branded products has been and remains EPA-approved and in compliance with all federal

requirements under FIFRA.

       133.    Monsanto incorporates by references its responses to paragraphs 1 through 132 in

response to paragraph 133 of plaintiff’s Complaint. Monsanto objects to plaintiff using the word

“Defendants” to lump Monsanto together with its co-defendant in Count IV of the Complaint.

Monsanto responds to the allegations in Count IV only on behalf of Monsanto.

       134.    Monsanto denies the allegations in paragraph 134.

       135.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 135 regarding plaintiff’s claimed use of or exposure to

Roundup®-branded products and therefore denies those allegations. The remaining allegations in

paragraph 135 set forth conclusions of law for which no response is required.

       136.    Monsanto denies the allegations in paragraph 136. All labeling of Roundup®-

branded products has been and remains EPA-approved and in compliance with all federal

requirements under FIFRA.




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       137.    The allegations in paragraph 137 set forth conclusions of law for which no

response is required.

       138.    Monsanto denies the allegations in paragraph 138.

       139.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 139 regarding plaintiff’s claimed use of or exposure to

Roundup®-branded products and therefore denies those allegations. Monsanto denies that

Roundup®-branded products have “dangerous characteristics.”

       140.    Monsanto denies the allegations in paragraph 140.

       141.    Monsanto denies the allegations in paragraph 141.

       142.    Monsanto denies the allegations in paragraph 142.

       143.    Monsanto denies the allegations in paragraph 143.

       144.    Monsanto denies the allegations in paragraph 144.

       145.    Monsanto incorporates by reference its responses to paragraphs 1 through 144 in

response to paragraph 145 of plaintiff’s Complaint. Monsanto objects to plaintiff using the word

“Defendants” to lump Monsanto together with its co-defendant in Count V of the Complaint.

Monsanto responds to the allegations in Count V only on behalf of Monsanto.

       146.    Monsanto denies the allegations in paragraph 146.

       147.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 147 concerning plaintiff’s claimed use of and exposure to

Roundup®-branded products and therefore denies those allegations. The remaining allegations in

paragraph 147 set forth conclusions of law for which no response is required.




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       148.    Monsanto denies the allegations in paragraph 148. All labeling of Roundup®-

branded products has been and remains EPA-approved and in compliance with all federal

requirements under FIFRA.

       149.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 149 regarding plaintiff’s reliance and therefore denies those

allegations. The remaining allegations in paragraph 149 set forth conclusions of law for which

no response is required.

       150.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 150 and therefore denies those allegations.

       151.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 151 concerning plaintiff’s claimed use of or exposure to

Roundup®-branded products and therefore denies those allegations. The remaining allegations in

paragraph 151 set forth conclusions of law for which no response is required.

       152.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 152 concerning plaintiff’s claimed use of or exposure to

Roundup®-branded products and therefore denies those allegations. The allegation in paragraph

152 regarding Monsanto’s implied warranties sets forth conclusions of law for which no

response is required. Monsanto denies the remaining allegations in paragraph 152.

       153.    Monsanto lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in paragraph 153 concerning plaintiff’s reliance or plaintiff’s claimed use

of any Roundup®-branded product and therefore denies those allegations. The remaining

allegations in paragraph 153 set forth conclusions of law for which no response is required.




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       154.    In response to the allegations in paragraph 154, Monsanto denies that there is any

risk of serious injury associated with or linked to the as-directed use of and/or exposure to

Roundup®-branded products and/or glyphosate. Monsanto lacks information or knowledge

sufficient to form a belief as to the truth of the allegations in paragraph 154 concerning plaintiff’s

and plaintiff’s employers’ knowledge about Roundup®-branded products and therefore denies the

remaining allegations in paragraph 154.

       155.    Monsanto denies the allegations in paragraph 155.

       156.    Monsanto denies the allegations in paragraph 156.

       157.    Monsanto denies the allegations in paragraph 157.

       In response to the “WHEREFORE” paragraph following paragraph 157, Monsanto

demands that judgment be entered in its favor and against plaintiff; that plaintiff’s Complaint be

dismissed, with prejudice; and that Monsanto be awarded costs of suit and reasonable attorney’s

fees as allowed by law and such further and additional relief as this Court may deem just and

proper. Monsanto denies the allegations in the “WHEREFORE” paragraph following paragraph

157.

       In response to the allegations in the “NOW THEN” paragraph following the

“WHEREFORE” paragraph, Monsanto denies that plaintiff is entitled to the relief sought therein,

including any judgment for any damages, interest, costs, or any other relief whatsoever.

       Every allegation in the Complaint that is not specifically and expressly admitted in this

Answer is hereby specifically and expressly denied.

                        SEPARATE AND AFFIRMATIVE DEFENSES

       1.      The Complaint, in whole or part, fails to state a claim or cause of action against

Monsanto upon which relief can be granted.




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        2.      Plaintiff’s claims are misjoined and should be severed.

        3.      Plaintiff’s claims against Monsanto are barred because plaintiff cannot proffer any

scientifically reliable evidence that the products at issue were defective or unreasonably

dangerous.

        4.      Any alleged negligent or culpable conduct of Monsanto, none being admitted,

was so insubstantial as to be insufficient to be a proximate or substantial contributing cause of

plaintiff’s alleged injuries.

        5.      Plaintiff’s claims against Monsanto are barred, in whole or in part, because the

products at issue were designed, manufactured, marketed and labeled with proper warnings,

information, cautions and instructions, in accordance with the state of the art and the state of

scientific and technological knowledge.

        6.      Plaintiff’s claims against Monsanto are barred, in whole or in part, because the

products at issue were not defective or unreasonably dangerous in that they complied with, at all

relevant times, all applicable government safety standards.

        7.      Plaintiff’s claims against Monsanto are preempted, in whole or in part, by

applicable federal law relating to the design, testing, producing, manufacturing, labeling,

distributing, modeling, processing, and supply of Roundup®-branded products and/or

glyphosate-containing products.

        8.      Plaintiff’s claims against Monsanto are preempted, in whole or in part, because of

U.S. EPA findings that glyphosate does not cause cancer in humans and/or because of U.S. EPA-

approved product labeling.

        9.      Plaintiff’s claims against Monsanto are barred, in whole or in part, by the doctrine

of primary jurisdiction, including by the authority delegated by Congress to the U.S. EPA.




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         10.    Any claims based on allegations that Monsanto misled, defrauded, made

misrepresentations to, or withheld information from U.S. EPA are preempted by federal law.

See, e.g., Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341 (2001); Nathan Kimmel, Inc. v.

Dowelanco, 275 F.3d 1199 (9th Cir. 2002).

         11.    Plaintiff’s claims against Monsanto are barred, in whole or in part, because

plaintiff’s injuries, if any, were the result of conduct of plaintiff, independent third parties, and/or

events that were extraordinary under the circumstances, not foreseeable in the normal course of

events, and/or independent, intervening and superseding causes of the alleged injuries, including

but not limited to plaintiff’s pre-existing medical conditions.

         12.    The doctrines contained in Restatement (Second) of Torts § 402A, comments j

and k, bar plaintiff’s claims against Monsanto in whole or in part.

         13.    Applicable statutes of limitations and/or repose bar plaintiff’s claims against

Monsanto in whole or in part.

         14.    Plaintiff’s misuse or abnormal use of the product or failure to follow instructions

bar plaintiff’s claims against Monsanto in whole or in part pursuant to Colo. Rev. Stat. § 13-21-

402.5.

         15.    If plaintiff suffered injuries or damages as alleged, which is denied, such injuries

or damages resulted from: (a) acts or omissions of persons or entities for which Monsanto is

neither liable nor responsible or, in the alternative, Monsanto is entitled to an assessment of the

relative degree of fault of all such persons and entities and proportional allocation of any

damages pursuant to Colo. Rev. Stat. § 13-21-111.5 and/or Colo. Rev. Stat. § 13-21-406; or (b)

resulted from diseases and/or causes that are not related or connected with any product sold,

distributed, or manufactured by Monsanto. Such acts or omissions on the part of others or




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diseases or causes constitute an independent, intervening and sole proximate cause of plaintiff’s

alleged injuries or damages.

       16.     Monsanto had no legal relationship or privity with plaintiff and owed no duty to

him by which liability could be attributed to it.

       17.     Monsanto made no warranties of any kind or any representations of any nature

whatsoever to plaintiff. If any such warranties were made, which Monsanto specifically denies,

then plaintiff failed to give notice of any breach thereof.

       18.     Plaintiff’s claims against Monsanto are preempted or otherwise barred in whole or

in part by the Freedom of Speech Clause of the First Amendment of the U.S. Constitution.

       19.     Plaintiff’s claims for damages against Monsanto, no injury or damages being

admitted, are barred in whole or in part by plaintiff’s contributory/comparative negligence

pursuant to Colo. Rev. Stat. § 13-21-111.

       20.     Plaintiff’s claims against Monsanto are barred in whole or in part by plaintiff’s

failure to mitigate damages.

       21.     Plaintiff’s claims against Monsanto are barred in whole or in part by the

sophisticated user doctrine.

       22.     Plaintiff’s recovery, if any, pursuant to Colo. Rev. Stat. § 13-21-111.6 shall be

reduced by those payments that plaintiff has received and/or will receive from qualifying

collateral sources.

       23.     If plaintiff has been injured or damaged, no injury or damages being admitted,

such injuries were not caused by a Monsanto product.




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       24.     Pursuant to Colo. Rev. Stat. § 13-21-111, Colo. Rev. Stat. § 13-21-111.5 and

Colo. Rev. Stat. § 13-21-406, Monsanto cannot be liable for damages that exceed its pro rata

share of causal fault, no fault being admitted.

       25.     Plaintiff’s claims against Monsanto and damages, no injury or damages being

admitted, are barred or must be reduced, in whole or part, by Colo. Rev. Stat. § 13-21-403 (state

of the art presumption, presumption of non-defectiveness for compliance with government

codes, and ten-year presumption) and Colo. Rev. Stat. § 13-21-102.5 (limits on non-economic

damages).

       26.     Plaintiff’s claims against Monsanto may be barred or reduced by plaintiff’s

assumption of the risk of injury pursuant to Colo. Rev. Stat. § 13-21-111.7.

       27.     The proximate cause of plaintiff’s claimed damages and/or injuries, no injury or

damages being admitted, may have been the act or omission of a third party or parties over

whom Monsanto had no control. Monsanto reserves the right to designate non-parties potentially

at fault pursuant to Colo. Rev. Stat. § 13-21-111.5(3)(b) and allocate fault to such parties in

accordance with Colo. Rev. Stat. § 13-21-111.5 and Colo. Rev. Stat. § 13-21-406.

       28.     Plaintiff’s claims against Monsanto are barred to the extent that plaintiff seeks

relief under the laws of states that do not govern plaintiff’s claims.

       29.     Plaintiff’s claims against Monsanto are barred or limited to the extent that

plaintiff asserts claims that are governed by the laws of a state that does not recognize, or limits,

such claims.

       30.     Monsanto hereby gives notice that it intends to rely upon such other defenses as

may become available or apparent during the course of discovery and thus reserves its right to

amend this Answer to assert such defenses.




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       WHEREFORE, Defendant Monsanto demands judgment in its favor and against

plaintiff, dismissing plaintiff’s Complaint with prejudice, together with the costs of suit and such

other relief as the Court deems equitable and just.

                                    JURY TRIAL DEMAND

       Monsanto demands a jury trial on all issues so triable.

 DATED: June 2, 2020                                  Respectfully submitted,

                                                      /s/ Lee Mickus
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                                                      Attorneys for Defendant Monsanto Company




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                         CERTIFICATE OF SERVICE
    I hereby certify that on June 2, 2020, a true and correct copy of the foregoing
DEFENDANT MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S
COMPLAINT was served via US mail upon the following:
Terry Rogers
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                                             /s/ Lee Mickus
                                             For Evans Fears & Schuttert LLP




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